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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

 WOLFRAM ARNOLD, ERIK
 FROESE, TRACY HAWKINS,
 JOSEPH KILLIAN, LAURA CHAN
 PYTLARZ, and ANDREW
 SCHLAIKJER,

                Plaintiffs,                      C.A. No. 1:23-cv-528-CFC

       v.

 X CORP. f/k/a TWITTER, INC., X
 HOLDINGS CORP. f/k/a X
 HOLDINGS I, INC., and ELON
 MUSK,

                Defendants.


        DEFENDANT ELON MUSK’S REPLY IN SUPPORT OF
       MOTION TO DISMISS UNDER FEDERAL RULE OF CIVIL
    PROCEDURE 12(b)(2) AND ALTERNATIVE MOTION TO DISMISS
       UNDER FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)


  Dated: September 5, 2023              MORGAN, LEWIS & BOCKIUS LLP

  Eric Meckley (pro hac vice)           Jody C. Barillare (#5107)
  One Market, Spear Street Tower        1201 N. Market Street, Suite 2201
  San Francisco, CA 94105               Wilmington, Delaware 19801
  415-442-1000                          302-574-7294
  eric.meckley@morganlewis.com          jody.barillare@morganlewis.com

  T. Cullen Wallace (pro hac vice)      Attorneys for Defendant Elon Musk
  1000 Louisiana Street, Suite 4000
  Houston, TX 77002-5005
  713-890-5722
  cullen.wallace@morganlewis.com
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          For the reasons set forth in his Motion and as further explained below, the

 Court should dismiss all Plaintiffs’ claims against Defendant Elon Musk under Rule

 12(b)(2) for lack of personal jurisdiction or, alternatively, under Rule 12(b)(6) for

 failure to state a claim.

 I.       ARGUMENT

          A.    Plaintiffs Do Not Establish Any Basis For The Court’s Exercise of
                Personal Jurisdiction over Musk.

          Plaintiffs unsupported assertion that Musk consented to jurisdiction under the

 Merger Agreement—despite their concession that he is not a party to Section 6.9,

 the only provision they seek to enforce—is contrary to applicable Delaware law. As

 explained in the Motion, the capacity in which an individual defendant joins a

 merger agreement determines the scope of their consent to jurisdiction thereunder.

 Whirlpool Corp. v. Cabri, 2022 WL 1421126, at *11 (D. Del. May 5, 2022) (“a

 consent to jurisdiction clause operates only as a consent to jurisdiction with respect

 to the claims to which it applies”); Bolt v. Kirley, 2012 WL 5006262, at *3 (S.D.N.Y.

 Oct. 18, 2012) (under Delaware law, the capacity in which the individual defendant

 joins the merger agreement determines the scope of their consent to personal

 jurisdiction under its forum selection clause).1




 1
     Unless otherwise specified, all internal quotations and citations are omitted.
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       Also, Plaintiffs identify no basis in the Complaint for asserting personal

 jurisdiction over Musk in connection with any of the non-Merger related claims

 (Counts III–XIV). In an effort to remedy this apparent deficiency, Plaintiffs now

 improperly raise two new grounds in their Response for the Court’s exercise of

 personal jurisdiction over Musk, neither of which are availing.

       Under both of the new grounds on which Plaintiffs rely (i.e., the Delaware

 Directors & Officers statute and the Delaware Long-arm statute 10 §§ 3104(c)(1);

 3114), they have the burden of establishing through “affidavit[] or other competent

 evidence that” Musk has sufficient minimum contacts with Delaware permitting this

 Court’s exercise of jurisdiction. NuGeneration Techs., LLC v. Moiyadi, 2023 WL

 5020831, at *3 (D.N.J. Aug. 7, 2023) (“[o]nce a defendant raises a jurisdictional

 defense, the plaintiff bears the burden of proving by affidavits or other competent

 evidence that jurisdiction is proper”); see Hazout v. Tsang Mun Ting, 134 A.3d 274,

 291-92 (Del. 2016) (courts applying § 3114 must examine individual defendant’s

 minimum contacts with Delaware such that the exercise of personal jurisdiction over

 him “is consistent with his constitutional expectations of due process”). Plaintiffs

 have not and cannot carry this burden, and in fact, plead in their Complaint that Musk

 is a Texas resident and that “Musk’s relevant activity occurred in California.” D.I.

 10 ¶¶ 29, 311. Because Plaintiffs have failed to plead or prove any basis for this




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 Court’s exercise of personal jurisdiction over Musk their claims against him must be

 dismissed under Rule 12(b)(2).

       B.    In the Alternative, Plaintiffs’ Claims Must be Dismissed Under
             Rule 12(b)(6).

             1.     Plaintiffs Waive Counts IV, VII–X, and XI–XIII by Failing to
                    Oppose Musk’s Motion.

       The Court should dismiss Counts IV, VII–X, and XI–XIII with prejudice

 because Plaintiffs fail to oppose Musk’s Motion as to those claims.2 D.A. v. Finish

 Line, Inc., 2022 WL 7989391, at *2 (D.N.J. Oct. 14, 2022) (“Failure to argue in

 response to a defendant’s motion to dismiss” constitutes “waiver of that claim or

 argument”) (citing Dreibelbis v. Scholton, 274 F.App’x 183, 185 (3d Cir. 2008)).

       Plaintiffs’ expressly waive their Texas Wage theft claim (Count X). D.I. 25,

 15 n.11. And, Plaintiffs do not even address the following claims: promissory

 estoppel (Count IV); PAGA (Count XI); FMLA (Count XII); and CFRA (Count

 XIII). See D.I. 25, at 1–18. Plaintiffs also fail to substantively address Musk’s

 argument that he is not their “employer” for purposes of federal, California, or New

 York WARN Act liability (Counts VII–IX) and instead merely reference these

 claims in a single conclusory parenthetical. D.I. 25, at 16. These claims are

 therefore waived and must be dismissed.


 2
   If the Court finds that Plaintiffs have not waived any of these claims, then Musk
 reasserts the respective substantive arguments in his Motion. D.I. 18, at 12–13, 16–
 20.

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              2.     Plaintiffs Fail to Plausibly Allege Musk’s Individual Liability for
                     Their Contract and Promissory Estoppel Claims (Counts I – V).

       It is beyond dispute that Musk is a non-signatory to Section 6.9 of the Merger

 Agreement and Plaintiffs concede this fact in their Response by acknowledging that

 he has no “substantive obligations” under that provision.             Thus, Plaintiffs’

 Declaratory Judgment Action (Count I) and Breach of the Merger Agreement (Count

 II) claims against Musk must be dismissed under Rule 12(b)(6).

       It is also undisputed that Musk neither owned nor controlled Twitter—and

 was in fact in active litigation with Twitter—at the time that Twitter allegedly made

 the “promises” on which Plaintiffs’ non-merger related breach of contract and

 promissory estoppel claims are based. Likewise, Musk was not a party to any “offer

 letters” Twitter sent to Plaintiffs between 2010–2013, over a decade before the

 merger. Accordingly, Plaintiffs’ breach of contract (Count III), promissory estoppel

 (Count IV), and breach of offer letter (Count V) claims must be dismissed under

 Rule 12(b)(6) without further analysis.

       To avoid this result, Plaintiffs now pivot in their Response to arguing that the

 Court should pierce the corporate veil under California law as to nine independent

 causes of action brought under numerous state and federal laws by Plaintiffs who

 worked for Twitter in three different states. D.I. 25, at 5, 16.3 Irrespective of whether


 3
  Counts I – II bring claims under the Merger Agreement which expressly chose
 Delaware law for all claims relating to the Merger Agreement, whether sounding in

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 California or Delaware law applies to Plaintiffs’ proposed unprecedented extension

 of veil-piercing principles, Plaintiffs fail to state a claim under either law.

       Under both laws, Plaintiffs must plausibly allege facts showing that (i) Musk

 and Twitter are a “single economic entity”; and that (ii) justice requires disregarding

 Twitter’s corporate form because it is a “sham” “designed to defraud investors and

 creditors.” Trevino v. Merscorp, Inc., 583 F. Supp. 2d 521, 529-31 (D. Del. 2008)

 (dismissing under 12(b)(6) for failure to plausibly allege either prong); Gerritsen v.

 Warner Bros. Ent. Inc., 116 F. Supp. 3d 1104, 1135-36, 1144 (C.D. Cal. 2015)

 (dismissing veil-piercing theory where plaintiffs fail to allege that defendant “is

 using the corporate form unjustly and in derogation of the plaintiff’s interests”

 observing “bad faith is a critical factor in the analysis”).

       As to prong one, Plaintiffs’ allegations fail even to mention most of the factors

 courts use to evaluate the relationship between Musk and Twitter. Trevino, 583 F.

 Supp. 2d at 529-31 (listing seven factors); Gerritsen, 116 F. Supp. 3d at 1145




 “contract, tort or otherwise.” Section 9.8, D.I. 16-1, at 69. And, to the extent that
 Counts I – V; VII – IX; XIV are not covered by Section 9.8, the Court should apply
 the internal affairs doctrine to Plaintiffs’ veil-piercing theory because Delaware “has
 an interest in its own corporate law determining the status of one of its corporations.”
 See Compagnie des Grands Hotels d'Afrique S.A. v. Starman Hotel Holdings LLC,
 2023 WL 5095274, at *3 (D. Del. Aug. 8, 2023); see Salzberg v. Sciabacucchi, 227
 A.3d 102, 131-34 (Del. 2020) (recognizing that the “internal affairs doctrine” applies
 to “matters peculiar to corporations,” such as “the relationships [ ] of the corporation,
 its directors, officers and shareholders”).

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  (reviewing thirteen factors used by California courts).4 As to prong two, Plaintiffs

  do not allege in the Complaint or otherwise that Musk used Twitter to perpetrate a

  fraud, or that Twitter was “a sham entity” created by Musk in order to defraud

  Plaintiffs. Trevino, 583 F. Supp. 2d at 529 (dismissal appropriate where plaintiffs

  failed to plausibly allege the corporation was used to “defeat the ends of justice, to

  perpetuate fraud, to accomplish a crime, or otherwise evade the law”); Neilson v.

  Union Bank of California, N.A., 290 F. Supp. 2d 1101, 1116–17 (C.D. Cal. 2003)

  (dismissal appropriate where plaintiffs fail to allege “some conduct amounting to

  bad faith” making it inequitable for the individual “to hide behind [the] corporate

  veil”).

            At most, Plaintiffs allege that they might become unsecured creditors because

  there is a “risk” of bankruptcy, but this is not a viable veil-piercing theory under

  either Delaware or California law. D.I. 10 ¶ 310; Trevino, 583 F. Supp. 2d at 530

  (“the possibility that a plaintiff may have difficulty enforcing a judgment is not an

  injustice warranting piercing the corporate veil”); Gerritsen, 116 F. Supp. 3d, at

  1145 (mere status as an unsatisfied creditor is not “an inequitable result [warranting]




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   Plaintiffs sole allegation of common ownership to show “unity of interests” is that
  Musk owns more than 50% of Twitter. Plaintiffs also do not allege any facts
  explaining how Twitter allegedly became undercapitalized “specifically as a result
  of Musk’s purchase of the corporation.”

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  application of the alter ego doctrine”).5 Accordingly, Plaintiffs’ contract claims

  must be dismissed.

               3.      Plaintiffs Do Not and Cannot Allege With Particularity Musk’s
                       Individual Liability for Fraud (Count VI).

        As explained in Musk’s Motion, Plaintiffs fail to identify a single fraudulent

  statement allegedly made by Musk. See D.I. 10 ¶ 354 (“Twitter represented . . .”).

  Nor can they, because Plaintiffs fail to explain how any alleged misrepresentations

  by Twitter could be attributable to Musk when he did not own or control Twitter at

  the time Plaintiffs allege the misrepresentations were made. To sidestep this fact,

  Plaintiffs now improperly raise two new arguments for the first time in their

  Response that should be disregarded because “it is axiomatic that the complaint may

  not be amended by the briefs in opposition to a motion to dismiss.” Jackson v.

  NuVasive, Inc., 2023 WL 5175092, at *4 (D. Del. Aug. 11, 2023).

         Nonetheless, Plaintiffs’ new allegation that Musk made fraudulent

  representation in Section 6.9 of the Merger Agreement is unavailing because it is

  beyond dispute that Musk is not a party to that provision. Further, Plaintiffs’ attempt

  to recast their breach of contract claim as a fraud claim is improper under applicable


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   Plaintiffs reliance on Leek v. Cooper undermines their position because there, the
  court found that although the plaintiffs “arguably adduced sufficient facts to show a
  unity of interest and ownership,” they failed to proffer evidence of “conduct
  amounting to bad faith . . . .” 194 Cal.App.4th 399, 414–18 (Cal. App. 2011). The
  same result is warranted here where Plaintiffs plead no facts showing Musk acted in
  bad faith.

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  law and to find otherwise would “potentially turn every breach of contract claim into

  one of fraud as well, so long as the plaintiff adds to his complaint a general allegation

  that the defendant never intended to keep its promise.” See U.S. Bank, N.A. v. Miller,

  2013 WL 12183652, at *7 (C.D. Cal. May 8, 2013).6

      Aside from the alleged representations in the Merger Agreement, Plaintiffs also

  improperly allege for the first time in their Response that Musk made representations

  in “subsequent communications” to Twitter employees regarding a promise of

  severance benefits. This new unsupported allegation, however, that Musk (a)

  approved and directed Twitter to communicate on his behalf, (b) during a time in

  which he indisputably did not own or control Twitter and was actively litigating

  against Twitter, (c) to promise benefits to persons he did not employ or have any

  relationship with is utterly implausible. See Ashcroft v. Iqbal, 556 U.S. 662, 663–

  64 (“determining whether a complaint states a plausible claim is context specific,

  requiring the reviewing court to draw on its experience and common sense.”).

        Finally, while Plaintiffs state in a footnote that they will merely amend their

  complaint for a third time to say whatever is “necessary” (D.I. 25, at 6 n.7), their



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    Additionally, the parties to the merger agreement make clear that the only
  representations in the Merger Agreement are in the representations and warranties
  section. See Section 5.11 (the parties do not make “any representation [] of any kind
  whatsoever” except those in Article V). See D.I. 16-1, at 52. Accordingly, Plaintiffs
  have not and cannot identify with particularity any fraudulent representations that
  Musk made to them under Section 6.9 in any capacity.

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  stated willingness to say anything to salvage their claims is improper under

  applicable law. In short, because Plaintiffs have not and cannot plead a plausible

  claim for fraud against Musk under the present circumstances, their claims should

  be dismissed under Rule 12(b)(6).

               4.     Plaintiffs’ FEHA Claim (Count XIV) Fails Because Musk is not
                      Their Employer.

        Musk moved to dismiss Plaintiffs’ FEHA claim because he is not their

  “employer.” D.I. 18, at 18. Plaintiffs apparently recognize they cannot hold Musk

  individually liable because he is not their employer and impermissibly attempt to

  sidestep this fact by now claiming they bring this claim under an alter ego theory.

  D.I. 25, at 9. But Plaintiffs do not plausibly allege facts supporting Musk’s liability

  under an alter ego theory. See I.B.2 supra; D.I. 10 ¶ 528 (“Twitter” took the

  allegedly discriminatory action).7 Moreover, individuals cannot be held liable for

  discrimination under the FEHA. Reno v. Baird, 18 Cal. 4th 640 (1998).

               5.     Plaintiffs’ Wage Theft Claims (Count X) Must Be Dismissed.

        Plaintiffs’ California and New York wage theft claims fail because they do

  not plausibly allege that Musk is their employer or that he otherwise participated in

  the alleged wrongdoing. D.I. 18, at 19–20; see, e.g., D.I. 10 ¶ 417 (“Twitter violated

  each such deadline”). Plaintiffs’ attempt to argue that Musk could be liable under


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   These same arguments apply to Plaintiffs CFRA claim (Count XIII). D.I. 18, at
  18.

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  California and New York law fails to substantively oppose Musk’s argument that

  the Complaint lacks any allegations of Musk’s misconduct. D.I. 18, at 20.

        Moreover, Plaintiffs’ cited cases in fact support Musk’s position. In Usher

  the court observed that dismissal is appropriate where, as in the Complaint here,

  “plaintiffs merely rely on the individual defendant’s respective positions as owners,

  directors, officers, and/or managing agents of the employer.” Usher v. White, 64

  Cal.App.5th 883, 895 (Cal. App. 2021).            And, Seviour-Iloff v. LaPaille is

  inapplicable at the pleading stage because its holding is limited to “whether courts

  have discretion to deny liability” after a finding that the individual defendant

  “engaged in some affirmative action.” 80 Cal.App.5th 427, 445 (2022).8 Plaintiffs’

  wage theft claims must be dismissed.

  II.   CONCLUSION

        For the foregoing reasons, Musk asks the Court to dismiss all of Plaintiffs’

  claims against him for lack of personal jurisdiction under Rule 12(b)(2), or in the

  alternative, for failure to state a claim under Rule 12(b)(6).




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    Espinoza v. Hepta Run, Inc., 74 Cal.App.5th 44, 59 (2022) (“an individual must
  have engaged in some affirmative action beyond [their] status as an owner,”); Leal
  v. Masonry Servs., Inc., 2013 WL 550668, at *2 (E.D.N.Y. Feb. 12, 2013)
  (individual defendant undisputedly “determined the rate and method of payment for
  employees”).

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   Dated: September 5, 2023             MORGAN, LEWIS & BOCKIUS LLP

                                         /s/ Jody C. Barillare
                                        Jody C. Barillare (#5107)
                                        1201 N. Market Street, Suite 2201
                                        Wilmington, Delaware 19801
                                        302-574-7294
                                        jody.barillare@morganlewis.com
                                        Attorneys for Defendant Elon Musk




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